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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                                ENTERED
                                                                           September 21, 2022
 UNITED STATES OF AMERICA                       SOUTHERN DISTRICT OF TEXAS
                                                                        Nathan Ochsner, Clerk
                                       §          HOUSTON DIVISION
                                       §
                                       §
 Versus                                §
                                       §
 OLOTIN ALFRED ALATAN                           CRIMINAL CASE: 4:19CR633-1


                                 ORDER TO SURRENDER


The defendant, OLOTIN ALFRED ALATAN #99813-479


 having been sentenced to the custody of the Bureau of Prisons, is ordered to

 surrender on Tuesday, October 11, 2022 by 2:00 pm to:


                          FCI VICTORVILLE MEDIUM I
                         13777 AIR EXPRESSWAY BLVD
                            VICTORVILLE, CA 92394
                                  760-246-2400




Signed on   Sep ,i,,.. ,,,   ;l t,     , 2022




                                      SI LAKE
                                      UNITED STATES DISTRICT JUDGE
